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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Criminal No. 7 . 217

(18 U.S.C. §§ 1791(a)(2), 1791
1791(b)(5))

UNITED STATES OF AMERICA

Vv.

New Nee Nee Ne

JAMES BYRD

INDICTMENT
MAY 25 20

CLERK U.S. DISTRIC]
The grand jury charges: WEST. DIST. OF PENN

COUNT ONE

On or about July 22, 2020, in the Western District of Pennsylvania, the d

JAMES BYRD, an inmate in custody at the Allegheny County Jail, a prison, institution,

the Attorney General, did knowingly and intentionally possess a prohibited object, to wit:

or other object used by a user of commercial mobile service (as defined in Section 332(¢

47) in connection with such service. /

In violation of Title 18, United States Code, Sections 1791(a)(2) and 179

riLeD

(b)(4), and

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efendant,
or facility
in which persons are held in custody by direction of or pursuant to a contract or agreement with
E a phone
1) of Title

1(b)(4).

 
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COUNT TWO

The grand jury further charges:
On or about July 22, 2020, in the Western District of Pennsylvania, the defendant,
JAMES BYRD, an inmate in custody at the Allegheny County Jail, a prison, institution, or facility
in which persons are held in custody by direction of or pursuant to a contract or agreement with
the Attorney General, did knowingly and intentionally possess prohibited objects, to wit:
cigarettes, a JUUL vape pen, and a red cigarette lighter, which are objects that threaten the order,
discipline, or security of a prison, or the life, health, or safety of an individual.

In violation of Title 18, United States Code, Sections 1791(a)(2) and 17911(b)(5).

 
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FORFEITURE ALLEGATION

The allegations contained in Counts One and Two of this Indictment are hereby re-
alleged and incorporated by reference, as though fully set forth herein, for the purpose of alleging
forfeiture pursuant to Title 18, United States Code, Section 4012. As a result of his commission
of these offenses, defendant JAMES BYRD, shall forfeit to the United States any and all
contraband seized on July 22, 2020, including, but not limited to: a Unihertz forum] 4g mini
smartphone, model Jelly Pro, containing a Sandisk Micro SD card; cigarettes; a JUUL yape pen;

and a red cigarette lighter.

A True Bill,

PATIL

Foreperson

MBL

STEPHEN R. KAUFMAN
Acting United States Attorney
PA ID No. 42108

 
